           Case 4:18-cv-00342-KGB Document 113 Filed 02/24/20 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DONNA CAVE, et al.,                                                                PLAINTIFFS

EUGENE LEVY, et al.,                                          CONSOLIDATED PLAINTIFFS

THE SATANIC TEMPLE, et al.,                                                    INTERVENORS

v.                                  Case No. 4:18-cv-00342-KGB

JOHN THURSTON, Arkansas Secretary
of State, in his official capacity                                                DEFENDANT

                                            NOTICE

       Pending before the Court are several discovery-related motions (Dkt. Nos. 74, 79, 82, 93,

104, 110). The Court reached out to the parties via electronic mail to determine when a telephonic

hearing on the motions could be held, if necessary. The Court’s electronic mail message to all

counsel and counsels’ responses are attached hereto as Court’s Exhibit A.

       In accordance with those responses, the Court will hold a conference with the parties via

telephone on Wednesday, February 26, 2020, at 3:00 p.m. C.T. The call-in information for the

telephonic hearing is as follows:

       -    Dial-in number:   (877) 402-9753

       -    Access code:      5922777

       So ordered this the 24th day of February 2020.



                                                    ____________________________________
                                                    Kristine G. Baker
                                                    United States District Judge
